                   Case 22-50327-CTG                  Doc 1       Filed 05/09/22           Page 1 of 15


                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                      Chapter 7

START MAN FURNITURE, LLC, et al. (f/k/a Art                                 Case No. 20-10553 (CTG)
Van Furniture, LLC),1
                                                                            (Jointly Administered)
                                   Debtors.


ALFRED T. GIULIANO, in his capacity as                                      Adv. Proc. No. 22-___________ (CTG)
Chapter 7 Trustee of Start Man Furniture, LLC,
et al.,

                                  Plaintiff,

vs.

SIMPSON FURNITURE COMPANY,

                                  Defendant.



COMPLAINT FOR (I) BREACH OF CONTRACT, (II) TURNOVER OF AMOUNTS DUE
         UNDER FRANCHISE AGREEMENT, (III) ACCOUNT STATED;
  (IV) GOODS SOLD AND DELIVERED; (V) DECLARATORY JUDGMENT; (VI)
   RECOVERY OF ATTORNEYS’ FEES AND COSTS; (VII) FORECLOSURE OF
SECURED ASSETS OF DEFENDANT; AND (VIII) BREACH OF PROMISSORY NOTE

                   Plaintiff, Alfred T. Giuliano in his capacity as chapter 7 trustee of Start Man

Furniture, LLC, et al. (the “Plaintiff”), for the estates of the above-captioned debtors (the

“Debtors”) in the above-captioned cases pending under chapter 7 of title 11 of the United States

Code (the “Bankruptcy Code”), by and through his undersigned counsel, as and for his Complaint

For (I) Breach of Contract, (II) Turnover of Amounts Due Under Franchise Agreement, (III)


1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include: Start Man
Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding Company, Inc.) (0291);
SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I, LLC) (2537); StartVF Holdings II, LLC
(f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start Man
Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep
Franchising, LLC) (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc.
(5198); and Comfort Mattress LLC (4463).

DOCS_DE:238974.2 05233/003
                 Case 22-50327-CTG             Doc 1    Filed 05/09/22     Page 2 of 15



Account Stated; (IV) Goods Sold and Delivered, (V) Declaratory Judgment; (VI) Recovery of

Attorneys’ Fees and Costs; (VII) Foreclosure of Secured Assets of Defendant; and (VIII) Breach of

Promissory Note (the “Complaint”) against the above-captioned defendant (the “Defendant”),

alleges as follows:

                                               THE PARTIES

                 1.          On March 8, 2020, each of the Debtors filed a voluntary petition with this

 Court under chapter 11 of the Bankruptcy Code. The Debtors’ cases are jointly administered for

 administrative purposes only.

                 2.          On April 6, 2020, the Court entered an order [D.I. 263] converting the

 Debtors’ cases to cases under chapter 7 of the Bankruptcy Code. On April 7, 2020, Alfred T.

 Giuliano was appointed as the chapter 7 trustee of the Debtors [D.I. 264]. The Bankruptcy Code

 authorizes the Trustee to perform the duties exercise the powers, and assert the rights of a trustee

 under sections 704 and 1106 of the Bankruptcy Code, including without limitation, commencing,

 prosecuting or settling causes of action, enforcing contracts or asserting claims and defenses on

 behalf of the Debtors’ estates.

                 3.          Defendant Simpson Furniture Company is a company formed under the

 laws of the State of Iowa with its principal office address at 3019 Neola Street, Cedar Falls, Iowa

 50613.

                                       JURISDICTION AND VENUE

                 4.          The United States Bankruptcy Court for the District of Delaware (the

 “Bankruptcy Court”) has jurisdiction over this adversary proceeding under the Bankruptcy Code




DOCS_DE:238974.2 05233/003                             2
                 Case 22-50327-CTG             Doc 1    Filed 05/09/22     Page 3 of 15



 pursuant to 28 U.S.C. §§ 157(a) and 1334(a) and the Amended Standing Order of Reference from

 the United States District Court for the District of Delaware dated February 29, 2012.

                 5.          This proceeding is a core proceeding within the meaning of 28 U.S.C.

 § 157(b) and the Bankruptcy Court may enter final orders for the matters contained herein.

                 6.          Pursuant to Local Bankruptcy Rule 7008-1, the Plaintiff affirms his consent

 to the entry of final orders or judgments by the Bankruptcy Court if it is determined that the

 Bankruptcy Court, absent consent of the parties, cannot enter final orders or judgments consistent

 with Article III of the United States Constitution.

                 7.          Venue in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409(a).

                                    BASIS FOR RELIEF REQUESTED

                 8.          This adversary proceeding is initiated pursuant to Rule 7001(1) of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and sections 105(a) and 542 of

 the Bankruptcy Code.

                                                   FACTS

                 9.          Prior to the Conversion Date, the Debtors offered customers a wide array of

 home furnishings under several well-known brands, including Art Van Furniture, Pure Sleep,

 Scott Shuptrine Interiors, Levin Furniture, Levin Mattress, and Wolf Furniture.

                 10.         Prior to the Petition Date, Debtor AVF was a franchisor of a nationally

 recognized chain of furniture stores, and the “Art Van” brand and image were key to the overall

 value and success of the Debtors’ franchise system. The Debtors’ brand and image were based

 principally on the use of certain trademarks (the “Marks”) that the Debtors owned and licensed to

 authorized franchisees.


DOCS_DE:238974.2 05233/003                             3
                 Case 22-50327-CTG            Doc 1     Filed 05/09/22    Page 4 of 15



                 11.         The Debtors spent substantial sums for advertising and promotion of the

 Marks. The Marks were distinctive, widely recognized, and engendered a substantial amount of

 goodwill and consumer association.

                 12.         Prior to the Petition Date, Debtor AVF Franchising, LLC (“AVF”) and

 Defendant were parties to a Franchise Agreement dated November 12, 2015 (the “Franchise

 Agreement”). A copy of the Franchise Agreement is attached to this Complaint as Exhibit A.

 Under the Franchise Agreement, the Defendant operated a furniture store using the Art Van name

 selling Art Van products using Art Van’s Marks and franchise system. The Defendant’s store

 was located at 2300 Jones Boulevard, Coralville, Iowa 52241 (the “Store”).

                 13.         The Franchise Agreement required the Defendant to, among other things,

 pay certain royalties and other fees to AVF as consideration for the use of the Marks. A failure to

 pay such fees and royalties was expressly considered a material breach under the Franchise

 Agreement. See Franchise Agreement § 14.

                 14.         Under the Franchise Agreement, Defendant was obligated to pay various

 franchise fees and royalties to AVF. See Franchise Agreement §4. In particular, Defendant was

 required to pay to AVF weekly royalties of 5% on gross sales. Franchise Agreement § 4.2

 Defendant also periodically purchased merchandise from AVF for sale in Defendant’s Store.

                 15.         Attached to this Complaint as Exhibit B is a list of amounts due from

 Defendant and owed to AVF under the Franchise Agreement (the “Franchisee Payable”). The

 aggregate amount due from Defendant to AVF is not less than $797,958.95.




DOCS_DE:238974.2 05233/003                             4
                 Case 22-50327-CTG             Doc 1     Filed 05/09/22     Page 5 of 15




                                        FIRST CLAIM FOR RELIEF
                                            (Breach of Contact)

                 16.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 17.         Prior to the Petition Date, as stated above, Debtor AVF and the Defendant

 entered into the Franchise Agreement, pursuant to which the Defendant agreed to pay certain

 royalties and other fees to AVF as consideration for the use of the Marks, and to pay the Debtors

 for any goods sold and delivered to Defendant.

                 18.         The Franchise Agreement is a valid and an enforceable contract in which the

 Defendant was obligated to perform.

                 19.         The Debtors performed their obligations under the Franchise Agreement

 with respect to the use of the Marks by the Defendant and the goods sold to Defendant.

                 20.         The Defendant’s failure to compensate the Debtors under the Franchise

 Agreement in an amount not less than the $797,958.95 Franchisee Payable, constitutes a material

 breach of the Defendant’s obligations under the Franchise Agreement.

                 21.         As a direct and proximate result of the Defendant’s breaches, the Debtors’

 estates incurred damages in an amount not less than $797,958.95.

                 22.         Accordingly, the Plaintiff is entitled to a judgment against the Defendant in

 an amount not less than $797,958.95.




DOCS_DE:238974.2 05233/003                              5
                  Case 22-50327-CTG             Doc 1     Filed 05/09/22     Page 6 of 15


                                   SECOND CLAIM FOR RELIEF
                          (Turnover of Property -- 11 U.S.C. §§ 105(a) and 542)

                  23.         Plaintiff repeats and realleges the allegations contained in each preceding

  paragraph of the Complaint as though set forth fully herein.

                  24.         The Defendant is in possession, custody or control of the Franchisee

  Payable as of the date of this Complaint.

                25.      The Franchisee Payable that is in the possession, custody or control of the

Defendant constitutes property of the Debtors’ bankruptcy estates pursuant to section 541(a) of the

Bankruptcy Code.

                26.      The Plaintiff, on behalf of the Debtors’ estates, has the power and authority to

take possession, custody or control of Franchisee Payable.

                27.      The Plaintiff has made demand for turnover of the Franchise Payable pursuant

to section 542 of the Bankruptcy Code. As of the date of this Complaint, Defendant has not turned

over the Franchisee Payable to the Plaintiff.

                28.      Pursuant to sections 105(a) and 542(a) of the Bankruptcy Code, the Defendant

must deliver the Franchisee Payable to the Plaintiff.

                                        THIRD CLAIM FOR RELIEF
                                             (Account Stated)

                  29.         Plaintiff repeats and realleges the allegations contained in each preceding

  paragraph of the Complaint as though set forth fully herein.

                  30.         Debtor AVF sent invoices to Defendant that set forth the amounts due and

  owing for Defendant’s purchase of goods from the Debtors.

                  31.         Defendant has never objected to the invoices described in Exhibit B.




 DOCS_DE:238974.2 05233/003                              6
                 Case 22-50327-CTG             Doc 1     Filed 05/09/22     Page 7 of 15



                 32.         The Plaintiff has demanded that Defendant pay for the goods that it

 purchased and received from the Debtors. Defendant has failed and refused to do so.

                 33.         There is an account stated, due and owing to Debtors in the amount of

 $797,958.95 for the Franchisee Payable, and Plaintiff is entitled to a judgment on that amount.


                                      FOURTH CLAIM FOR RELIEF
                                        (Goods Sold and Delivered)

                 34.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 35.         Within the year prior to the Petition Date, Defendant became indebted to

 Debtors for goods sold and delivered to Defendant and for which Defendant promised to pay.

                 36.         Defendant has failed to pay for the goods, despite the Plaintiff’s demand

 therefor. Plaintiff is therefore entitled to a judgment in the amount of the goods.


                                       FIFTH CLAIM FOR RELIEF
                             (Declaratory Judgment – 28 U.S.C. §§ 2201, 2202)

                 37.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 38.         The Franchise Agreement provides:

        4.9 No Setoff; Application of Payments. Franchisee’s obligations for the full
        and timely payment of the fees described in this Agreement are absolute and
        unconditional. Franchisee must not delay or withhold the payment of all or part
        of those fees based on the alleged nonperformance by FRANCHISOR or for any
        other reason or put the fees in escrow or setoff against any claims Franchisee may
        allege against FRANCHISOR. FRANCHISOR may apply any payments received
        first to any accrued late charges or interest and then to any delinquent fees or
        other amounts outstanding before crediting the payment in the manner specified
        by Franchisee or to the current amount due.

 Franchise Agreement § 4.9.


DOCS_DE:238974.2 05233/003                              7
                 Case 22-50327-CTG             Doc 1     Filed 05/09/22     Page 8 of 15



                 39.         To the extent Defendant asserts setoff for lost profits or otherwise seeks

 recoupment or any other similar remedy, it may not do so and is prohibited by the express terms

 of the Franchise Agreement.

                 40.         An actual, substantial, and justiciable controversy exists between Plaintiff

 and Defendant regarding amounts due and owing under the Franchise Agreement.

                 41.         In addition, section 16.8 of the Franchise Agreement provides:

        16.8 Jury Waiver; Time Period for Bringing Claims; Limitation of Damages.
        FRANCHISOR AND FRANCHISEE IRREVOCABLY WAIVE TRIAL BY
        JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM, WHETHER
        AT LAW OR IN EQUITY, BROUGHT BY EITHER OF THEM AGAINST THE
        OTHER, WHETHER OR NOT THERE ARE OTHER PARTIES IN SUCH
        ACTION OR PROCEEDING. ALL CLAIMS ARISING UNDER THIS
        AGREEMENT OR FROM THE RELATIONSHIP BETWEEN THE PARTIES
        ARE BARRED UNLESS AN ACTION IS FILED AND TIMELY SERVED ON
        THE OPPOSING PARTY WITHIN ONE YEAR FROM THE DATE THE
        PARTY KNEW OR SHOULD HAVE KNOWN OF THE FACTS CREATING
        THE CLAIM, EXCEPT TO THE EXTENT ANY APPLICABLE LAW OR
        STATUTE PROVIDES FOR A SHORTER PERIOD OF TIME TO BRING A
        CLAIM OR AS OTHERWISE REQUIRED BYLAW.

        FRANCHISEE WAIVES IN ANY JUDICIAL ACTION, TO THE FULLEST
        EXTENT PERMITTED BY LAW, ANY RIGHT TO OR CLAIM OF ANY
        SPECIAL, PUNITIVE OR EXEMPLARY DAMAGES AGAINST
        FRANCHISOR AND AGREES THAT IN THE EVENT OF A DISPUTE
        BETFRANCHISOREN [sic] THEM, FRANCHISEE WILL BE LIMITED
        TO THE RECOVERY OF ANY ACTUAL DAMAGES SUSTAINED BY
        FRANCHISEE.

Franchise Agreement § 16.8.

                 42.         Pursuant to section 16.8 of the Franchise Agreement, Defendant has waived

any right to assert setoff damages or recoupment against the franchisor and is limited to recovering

actual damages.




DOCS_DE:238974.2 05233/003                              8
                 Case 22-50327-CTG              Doc 1     Filed 05/09/22      Page 9 of 15



                 43.         Accordingly, the Plaintiff seeks a declaratory judgment and order from this

Court under 28 U.S.C. §§ 2201 and 2202 that Defendant may not assert lost profits or any other

damages as setoff or recoupment against amounts it owes the Debtors’ estates.

                                       SIXTH CLAIM FOR RELIEF
                                    (Claim for Attorney’s Fees and Costs)

                 44.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 45.         In the event that Plaintiff prevails in this action, Plaintiff also seeks an

 award of reasonable attorneys’ fees and costs pursuant to Section 16 of the Agreement.

                 46.         Section 16.7 of the Agreement provides:

        If any arbitration or legal action or other proceeding is begun for the enforcement
        of this Agreement, or for an alleged dispute, breach, default or misrepresentation
        under any term of this Agreement, then FRANCHISOR, if FRANCHISOR is the
        prevailing party, is entitled to recover reasonable pre-institution and post-
        institution attorneys fees, court costs, and all expenses even if not taxable as court
        costs (including all fees and expenses incident to appellate, bankruptcy and post-
        judgment proceedings), incurred in the action or proceeding in addition to all
        other relief to which FRANCHISOR is entitled. Attorneys fees includes paralegal
        fees, administrative costs, investigative costs, costs of expert witnesses, court
        reporter fees, sales and use taxes, if any, and all other charges billed by the
        attorney to the prevailing party. If FRANCHISOR engages legal counsel because
        of Franchisee’s failure to pay when due any monies under this Agreement or
        submit when due any reports, information or supporting records, or for any failure
        to otherwise comply with this Agreement, Franchisee must reimburse
        FRANCHISOR on demand for all of the above listed expenses FRANCHISOR
        incurs.

                 47.         Plaintiff has incurred, and will continue to incur, attorneys’ fees, costs, and

 expenses in prosecuting his claims set forth herein, all resulting from Defendant’s breach of the

 Franchise Agreement, which will be supported by evidence at the appropriate time.




DOCS_DE:238974.2 05233/003                               9
                Case 22-50327-CTG             Doc 1     Filed 05/09/22     Page 10 of 15


                                     SEVENTH CLAIM FOR RELIEF
                               (Foreclosure of Security Interests Under UCC)

                 48.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 49.         Section 4.15 of the Franchise Agreement provides:

        4.15 Initial Investment and Inventory Financing; Security Agreement. If in
        FRANCHISOR’S sole opinion Franchisee is financially creditworthy,
        FRANCHISOR may, at its discretion, offer two (2) types of financing to
        Franchisee: (a) financing of up to 50% (but not more than $200,000) of the initial
        investment costs excluding operating costs (“Initial Investment Financing”), and
        (b) stock inventory financing (“Inventory Financing”). If financing is offered,
        Franchisee must execute standard promissory notes (Appendix D-2 and D-3) and
        a standard security agreement in the form of Appendix E with respect to either or
        both types of financing, as applicable. Terms of payment with respect to Initial
        Investment Financing shall be monthly over a period of thirty six (36) months
        plus interest at the federal prime rate plus 2%. With respect to Inventory
        Financing, FRANCHISOR shall have the sole right to determine the maximum
        amount it will finance. Interest at the federal prime rate plus 2% will also be
        charged on any unpaid principal. Franchisee also must execute the Security
        Agreement in the form of Exhibit E granting FRANCHISOR or its affiliates a
        security interest in all unpaid product delivered to Franchisee.

                 50.         On August 14, 2016, Defendant executed a Security Agreement. A copy of

 the Security Agreement is attached to this Complaint as Exhibit C. Pursuant to the Security

 Agreement, Defendant granted to AVF a continuing security interest in all assets of Defendant

 including all of the Defendant’s Collateral (as defined in the Security Agreement).

                 51.         On August 19, 2016, Art Van Furniture, Inc. filed a UCC-1 Financing

 Statement with the Indiana Secretary of State listing Art Van Furniture, Inc. as the secured party

 and Defendant as the debtor party. A copy of the UCC-1 Financing Agreement is attached to this

 Complaint as Exhibit D.

                 52.         Attached as Exhibit A to the UCC-1 Financing Statement was a collateral

 description providing that Art Van Furniture, Inc. was secured in all personal property of

 Defendant.

DOCS_DE:238974.2 05233/003                             10
                Case 22-50327-CTG              Doc 1    Filed 05/09/22      Page 11 of 15



                 53.         § 9-601 provides:

        (a) [Rights of secured party after default.] After default, a secured party has the
        rights provided in this part and, except as otherwise provided in Section 9-602,
        those provided by agreement of the parties. A secured party: (1) may reduce a
        claim to judgment, foreclose, or otherwise enforce the claim, security interest, or
        agricultural lien by any available judicial procedure; and (2) if the collateral is
        documents, may proceed either as to the documents or as to the goods they cover.

                 54.         UCC § 9-609 provides:

        (a) [Possession; rendering equipment unusable; disposition on debtor's premises.]
        After default, a secured party: (1) may take possession of the collateral; and (2)
        without removal, may render equipment unusable and dispose of collateral on a
        debtor's premises under Section 9-610.

        (b) [Judicial and nonjudicial process.] A secured party may proceed under
        subsection (a): (1) pursuant to judicial process; or (2) without judicial process, if it
        proceeds without breach of the peace.


                 55.         UCC § 9-610 provides:

        (a) [Disposition after default.] After default, a secured party may sell, lease,
        license, or otherwise dispose of any or all of the collateral in its present condition
        or following any commercially reasonable preparation or processing.

        (b) [Commercially reasonable disposition.] Every aspect of a disposition of
        collateral, including the method, manner, time, place, and other terms, must be
        commercially reasonable. If commercially reasonable, a secured party may
        dispose of collateral by public or private proceedings, by one or more contracts,
        as a unit or in parcels, and at any time and place and on any terms.


                 56.         Defendant is in default under the Security Agreement for failure to fulfill its

 obligations under the Franchise Agreement.

                 57.         Plaintiff seeks a determination and judgment of foreclosure under the

 Security Agreement and UCC-1 Financing Statement against Defendant on all “Assets” of the

 Defendant, as described in Exhibit A to the UCC-1 Financing Statement.




DOCS_DE:238974.2 05233/003                             11
                Case 22-50327-CTG             Doc 1     Filed 05/09/22     Page 12 of 15


                                      EIGHTH CLAIM FOR RELIEF
                                  (Breach of Contract - Promissory Note))

                 58.         Plaintiff repeats and realleges the allegations contained in each preceding

 paragraph of the Complaint as though set forth fully herein.

                 59.         On August 14, 2016, Defendant executed the Security Agreement, as

 described above.

                 60.         In connection with the Security Agreement, on August 16, 2016, Defendant

 executed a Promissory Note in favor of Art Van Furniture, Inc. in the principal amount of

 $960,215.91 (the “First Note”).

                 61.         On February 28, 2017, Defendant executed an Amended and Restated

 Promissory Note in the principal amount of $450,000, and amending the First Note (the

 “Amended Note”).

                 62.         On July 13, 2017, Defendant executed a Second Amended and Restated

 Promissory Note (the “Second Amended Note”) in the principal amount of $376,432.83, with

 interest accruing at 6% per annum. In connection therewith, on July 13, 2017, Defendant also

 executed an Amendment to Agreement to Amend Promissory Note and Restate/Reaffirm

 Guaranty and Security Agreement (the “Amended Security Agreement”).

                 63.         The First Note, Amended Note, Second Amended Note, and Amended

 Security Agreement are collectively referred to herein as the Promissory Note Documents, copies

 of which are attached to this Complaint as Exhibit E.

                 64.         The Second Amended Note required Defendant to pay to Art Van Furniture,

 Inc. interest-only payments of $1,882.16 from July 28, 2017 through July 28, 2018, and,

 thereafter, to make monthly payments of $16,683.73 from August 28, 2018 until paid in full, with

 a maturity date of August 28, 2020.




DOCS_DE:238974.2 05233/003                             12
                Case 22-50327-CTG             Doc 1     Filed 05/09/22     Page 13 of 15


                 65.         As of the Petition Date, the Promissory Note Documents were valid,

 existing, and enforceable obligations as between the Defendant and Debtors’ estates.

                 66.         Defendant is in default under the Promissory Note Documents for failure to

 make all required payments under the Promissory Note Documents.

                 67.         Defendant is indebted to the Debtors’ estates in an amount not less than

 $376,433.00 under the Promissory Note Documents.

                 68.         As a direct and proximate result of the Defendant’s breaches, the Debtors’

 estates incurred damages in an amount not less than $376,433.00.

                 69.         Accordingly, the Plaintiff is entitled to a judgment against the Defendant in

 an amount not less than $376,433.00 under the Promissory Note Documents.


                             WHEREFORE, Plaintiff prays for judgment as follows:

                             a.     On the first claim for relief, for a determination and judgment that

Plaintiff is entitled to recover from Defendant all damages caused by Defendant’s breach of the

Franchise Agreement in the amount of $797,958.95, plus prejudgment interest thereon;

                             b.     On the second claim for relief, for a determination and judgment

compelling Defendant to turn over the Franchisee Payable amount to Plaintiff;

                             c.     On the third claim for relief, for a determination and judgment that

Plaintiff is entitled to recover from Defendant the amount of goods sold and delivered to

Defendant;

                             d.     On the fourth claim for relief, for a determination and judgment that

Plaintiff is entitled to recover from Defendant the amount of goods sold and delivered to

Defendant;




DOCS_DE:238974.2 05233/003                             13
                Case 22-50327-CTG           Doc 1     Filed 05/09/22       Page 14 of 15



                             e.   On the fifth claim for relief, for a declaratory judgment that

Defendant may not assert lost profits or any other damages as setoff or recoupment against

amounts it owes the Debtors’ estates;

                             f.   On the sixth claim for relief, for a determination and judgment

awarding attorneys’ fees and costs to Plaintiff under the Franchise Agreement;

                             g.   On the seventh claim for relief, for a determination and judgment of

foreclosure under the Security Agreement and UCC-1 Financing Statement against Defendant on

all “Assets” of the Defendant, as described in Exhibit A to the UCC-1 Financing Statement

                             h.   On the eighth claim for relief, for a determination and judgment that

Plaintiff is entitled to recover from Defendant all damages caused by Defendant’s breach of the

Promissory Note Documents in the amount of $376,433.00, plus prejudgment interest thereon;

                             i.   For costs of suit incurred herein; and

                             j.   For such other and further relief as the Court may deem just and

proper.




DOCS_DE:238974.2 05233/003                           14
                Case 22-50327-CTG   Doc 1   Filed 05/09/22    Page 15 of 15


Dated: May 9, 2022                   PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ Peter J. Keane
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                                      Counsel to Plaintiff, Alfred T. Giuliano, Chapter 7
                                      Trustee for the Estates of Start Man Furniture, LLC, et
                                      al.




DOCS_DE:238974.2 05233/003                  15
